              Case 11-2174, Document 34, 01/04/2012, 488628, Page1 of 42




  11-2174             To be Argued by: P AUL D. S ILVER

  United States Court of Appeals
            FOR THE SECOND CIRCUIT
              Docket No. 11-2174

          UNITED STATES OF AMERICA,
                      Appellee,
                           v.
         FLAY ROOD, aka FLAY B. ROOD,
                        Defendant-Appellant.

  O N A PPEAL FROM THE U NITED S TATES D ISTRICT C OURT
        FOR THE N ORTHERN D ISTRICT OF N EW Y ORK

 BRIEF FOR APPELLEE UNITED STATES OF AMERICA

                        RICHARD S. HARTUNIAN
                        United States Attorney
                         for the Northern District of
                         New York
                        445 Broadway
                        Albany, NY 12207
                        Tel.: 518-431-0247
                        email: paul.silver@usdoj.gov
PAUL D. SILVER
LISA M. FLETCHER
Assistant United States Attorneys
    Of Counsel
                 Case 11-2174, Document 34, 01/04/2012, 488628, Page2 of 42




                    TABLE OF CONTENTS

                                                                     PAGE

STATEMENT OF THE ISSUE PRESENTED. . . . . . . . . . .                   1

STATEMENT OF THE CASE. . . . . . . . . . . . . . . . . . . . .          1

STATEMENT OF FACTS

     1. Offense Conduct. . . . . . . . . . . . . . . . . . . . . .      4

     2. Rood's Motion To Strike Allegation
        Of Prior Sex Conviction. . . . . . . . . . . . . . . . . 7

     3. Government's Opposition to Rood's Motion.                       9

     4. Sentencing Proceedings. . . . . . . . . . . . . . .            11

          (i) Probation Office Guidelines Calculation
              and Determination of Statutory Penalties.11

          (ii) Sentencing. . . . . . . . . . . . . . . . . . . . .     12

SUMMARY OF ARGUMENT. . . . . . . . . . . . . . . . . . . . . 15

ARGUMENT

     The District Court Did Not Err In Utilizing A
     Modified Categorical Approach To Determine
     Whether Rood's 1991 Conviction Under Ohio
     Law For Gross Sexual Imposition Qualified As
     A Prior Sex Conviction Under 18 U.S.C. §
     3559(e), And Did Not Clearly Err In
Case 11-2174, Document 34, 01/04/2012, 488628, Page3 of 42




                   Determining That The Facts Underlying Rood's
                   1991 Conviction Did So Qualify... . . . . . . . . . . 15

                   A. Standard of Review.. . . . . . . . . . . . . . . . . . . 15

                   B. Governing Law. . . . . . . . . . . . . . . . . . . . . . . 17

                   C. Relevant Statutes.. . . . . . . . . . . . . . . . . . . . . 19

                   D. Discussion. . . . . . . . . . . . . . . . . . . . . . . . . . . 25

              CONCLUSION.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34

                                 TABLE OF AUTHORITIES

                                       FEDERAL CASES

              Apprendi v. New Jersey,
                 530 U.S. 466 (2000). . . . . . . . . . . . . . . . . . . . . . . 30

              James v. United States,
                 550 U.S. 192 (2007). . . . . . . . . . . . . . . . . . . . . . . 28

              Nijhawan v. Holder,
                  557 U.S. 29, 129 S. Ct. 2294 (2009). . . . . . . . . . 19

              Oouch v. United States Department
                 of Homeland Security,
                  633 F.3d 119 (2d Cir. 2011). . . . . . . . . . . . . . . . 28

              Puckett v. United States,
                  556 U.S. 129, 129 S. Ct. 1423 (2009). . . . . . . . . 16


                                                  ii
                 Case 11-2174, Document 34, 01/04/2012, 488628, Page4 of 42




Shepard v. United States,
    544 U.S. 13 (2005). . . . . . . . . . . . . . . . . . . . . 16, 18

Taylor v. United States,
     495 U.S. 575 (1990). . . . . . . . . . . . . . . . . 7, 17, 25

United States v. Bonilla,
    618 F.3d 102 (2d Cir. 2010),
    cert. denied, __U.S.__,131 S. Ct. 1698 (2011). . 16

United States v. Brown,
     629 F.3d 290 (2d Cir. 2011). . . . . . . . . . . . . . . . 16

United States v. Daranda,
    405 Fed. Appx. 834, 839 (5th Cir. 2010),
     cert. denied, __U.S. __, 131 S. Ct. 2166 (2011). 32

United States v Doss,
    630 F.3d 1181 (9th Cir. 2011). . . . . . . . . 19, 29, 30

United States v. Johnson,
    616 F.3d 85 (2d Cir. 2010), cert. denied,
    sub nom. Derby v. United States, __U.S.__,
    131 S. Ct. 2858 (2011). . . . . . . . . . . . . . . . . . . . . 28

United States v. Marcus,
    __ U.S. __, 130 S. Ct. 2159 (2010). . . . . . . . . . . 16

United States v. Rosa,
    507 F.3d 142 (2d Cir. 2007).. . . . . . . . . . . . . . . . 16


                                 iii
Case 11-2174, Document 34, 01/04/2012, 488628, Page5 of 42




              United States v. Walker,
                  595 F.3d 441 (2d Cir. 2010). . . . . . . . . . . . . . . 9, 18

                                           STATE CASE

              State v. Dunlap,
                   129 Ohio St. 3d 461,
                    953 N.E.2d 816 (2011). . . . . . . . . . . . . . . . . 26, 28

                          FEDERAL STATUTES, RULES, AND
                             SENTENCING GUIDELINES

              8 U.S.C. § 1101(a)(43)(M)(i).. . . . . . . . . . . . . . . . . . . 19

              18 U.S.C. § 2241(c). . . . . . . . . . . . . . . . . . . . . . . passim

              18 U.S.C. § 2242(2)(A). . . . . . . . . . . . . . . . . . 15, 23, 33

              18 U.S.C. § 2244(a)(5).. . . . . . . . . . . . . . . . . . . . . . . . 32

              18 U.S.C. § 2246(2)(D). . . . . . . . . . . . . . . . . . . 8, 23, 33

              18 U.S.C. § 2251. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

              18 U.S.C. § 2251(e). . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

              18 U.S.C. § 2252A(a)(2)(A). . . . . . . . . . . . . . . . . . . . . 2

              18 U.S.C. § 2252A(a)(5)(B). . . . . . . . . . . . . . . . . . . . . 2

              18 U.S.C. § 2252A(b)(1). . . . . . . . . . . . . . . . . . . . . . . . 2


                                                   iv
                   Case 11-2174, Document 34, 01/04/2012, 488628, Page6 of 42




18 U.S.C. § 2252A(b)(2). . . . . . . . . . . . . . . . . . . . . . . . 2

18 U.S.C. § 3559(e). . . . . . . . . . . . . . . . . . . . . . . passim

18 U.S.C. § 3559(e)(1). . . . . . . . . . . . . . . . . . . . . . . . 29

18 U.S.C. § 3559(e)(2)(D).. . . . . . . . . . . . 13, 19, 29, 30

18 U.S.C. § 924(e). . . . . . . . . . . . . . . . . . . . . . . . . . 7, 17

Fed. R. Crim. P. 11(a)(2). . . . . . . . . . . . . . . . . . . . . . . . 3

U.S.S.G. § 3D1.2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

U.S.S.G. § 3D1.2(d). . . . . . . . . . . . . . . . . . . . . . . . . . 11

U.S.S.G. § 4B1.2(a). . . . . . . . . . . . . . . . . . . . . . . . . . . 19

U.S.S.G. § 4B1.5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

U.S.S.G. § 4B1.5(a)(2). . . . . . . . . . . . . . . . . . . . . . . . 12

U.S.S.G. Chapt. 5, Pt. A, comment n.1. . . . . . . . . . . . 12

                         STATE STATUTES

Ohio Rev. Code, § 2901.22. . . . . . . . . . . . . . . . . . . . . 25

Ohio Rev. Code § 2901.22(A).. . . . . . . . . . . . . . . 25, 26

Ohio Rev. Code § 2907.01. . . . . . . . . . . . . . . . . . . . . 24

                                     v
Case 11-2174, Document 34, 01/04/2012, 488628, Page7 of 42




              Ohio Rev. Code § 2907.01(B). . . . . . . . . . . . . . . . 25, 26

              Ohio Rev. Code § 2907.05.. . . . . . . . . . . . . . . . 8, 24, 28

              Ohio Rev. Code § 2907.05(A)(4). . . . . . . . . . . . . . . . 26




                                             vi
              Case 11-2174, Document 34, 01/04/2012, 488628, Page8 of 42




  United States Court of Appeals
             FOR THE SECOND CIRCUIT
               Docket No. 11-2174
                  ________________
          UNITED STATES OF AMERICA,
                     Appellee,
                            v.
         FLAY ROOD, aka FLAY B. ROOD,
                           Defendant-Appellant.


  BRIEF FOR THE UNITED STATES OF AMERICA
                  ________________

      STATEMENT OF THE ISSUE PRESENTED

       Whether the district court erred in utilizing a
modified categorical approach to determine whether
Rood’s 1991 conviction under Ohio law for Gross Sexual
Imposition qualified as a prior sex conviction under 18
U.S.C. § 3559(e), or clearly erred in determining that the
facts underlying Rood’s 1991 conviction did so qualify.

              STATEMENT OF THE CASE

       On March 25, 2010, a grand jury in the Northern
District of New York returned a six-count indictment
Case 11-2174, Document 34, 01/04/2012, 488628, Page9 of 42




              against Flay Rood. (Docket No. 15; A 7, 16-21)1 Counts
              one to three charged Rood with persuading three separate
              minors to engage in sexually explicit conduct for the
              purpose of producing a visual depiction of such conduct,
              in violation of 18 U.S.C. § 2251. Count four charged
              Rood with distributing and attempting to distribute child
              pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A).
              Count five charged Rood with receiving child
              pornography, also in violation of          18 U.S.C. §
              2252A(a)(2)(A).      Count six charged Rood with
              attempting to possess, and attempting to access with
              intent to view, material that contained images of child
              pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).
              (A 16-19)

                    The indictment also included an allegation that
              Rood had been convicted of the felony offense of Gross
              Sexual Imposition, in violation of Ohio state law, and that
              such conviction subjected Rood to enhanced penalties
              pursuant to 18 U.S.C. §§ 2251(e), 2252A(b)(1) and (b)(2),
              and 3559(e).2 (A 19-20) Finally, the indictment included
              a forfeiture allegation seeking forfeiture of property

                   1
                   References to “A” are to the Appendix filed by
              Rood. The district court docket is included in Rood’s
              Appendix at pp. A 1-14.
                   2
                     The government later filed a “Special Information”
              reiterating that Rood’s Ohio conviction for Gross Sexual
              Imposition subjected Rood to enhanced penalties. (A 22-
              23)

                                          2
             Case 11-2174, Document 34, 01/04/2012, 488628, Page10 of 42




involved in the offenses alleged in the indictment. (A 20-
21)

       On July 9, 2010, Rood moved to strike from the
indictment the allegation that he had previously been
convicted of a sex offense that would subject him to
enhanced penalties under § 3559(e). (Docket No. 23; A
8) Although Rood did not contest the fact of the
conviction, he argued that the conviction did not meet the
statutory definition of a qualifying prior sex conviction
that would subject him to the enhanced statutory
penalties. (A 32-43)

      The government opposed Rood’s motion to strike.
(A 44-67) The district court, Hurd, J., reserved decision
on Rood’s motion, calling it premature, but indicated the
court would be “amenable to taking a plea with the
defendant reserving the right to challenge the
applicability of 18 U.S.C. § 3559(e).” (A 77)

       On December 22, 2010, without a written plea
agreement, Rood entered pleas of guilty to all six counts
of the indictment. (Docket No. 28; A 10, 78-109) With
the court’s consent, Rood reserved his right to appeal the
applicability of the enhanced penalty provision in 18
U.S.C. § 3559(e). (A 79-80)3

    3
       The record does not reflect the government’s
consent to Rood’s conditional plea, as required by Fed. R.
Crim. P. 11(a)(2). The government does not, however,
argue here that it did not so consent.

                            3
Case 11-2174, Document 34, 01/04/2012, 488628, Page11 of 42




                      Rood was sentenced on May 19, 2011. (Docket
               No. 44; A 12, 141-157) Over Rood’s objection, the
               district court determined that Rood’s Ohio conviction for
               Gross Sexual Imposition qualified as a prior sex
               conviction resulting in the application of the enhanced
               penalty provision in § 3559(e). As a result, Rood was
               sentenced principally to life terms of imprisonment on
               counts one to three; fifteen-year terms of imprisonment on
               counts four and five; and a ten-year term of imprisonment
               on count six; all terms of imprisonment to run
               concurrently. (Docket No. 44; A 12-13)

                      Judgment entered on May 26, 2011. (Docket No.
               46; A 13, 158-163) Rood filed a timely notice of appeal
               the following day, May 27. (Docket No. 48; A 13, 164)
               Rood is currently serving the sentence imposed.

                               STATEMENT OF FACTS

               1. Offense Conduct4

                      In August of 2009, a Utica Police Department
               investigator conducted an internet search for individuals
               actively involved in sharing child pornography. As a

                   4
                      This statement of offense conduct is obtained from
               the Probation Office’s Presentence Investigation Report
               (“PSR”). In the district court, Rood objected to
               information contained within paragraphs 18 and 19 of the
               report. Those objections were overruled by the district
               court. (A 143)

                                           4
              Case 11-2174, Document 34, 01/04/2012, 488628, Page12 of 42




result, the investigator was able to partially download a
video from an IP address associated with Rood. (PSR,
par. 12)

      On August 31, 2009, law enforcement officials
executed a search warrant at Rood’s residence in Utica,
New York. At that time, Rood admitted he downloaded
child pornography from the Internet, and saved the
images on his computer. The police then seized Rood’s
computer and related items. (PSR, par. 13)

       An examination of a thumb drive taken from
Rood’s residence disclosed seventeen pornographic
images of prepubescent males that appeared to have been
“self-produced.”5 The boys in the images later were
identified as a relative of Rood’s (V-1), who was seven
years old in the single image of him; a neighbor’s child
that Rood and his wife babysat (V-2), who was two years
old in the four images produced of him; and another of
Rood’s relatives (V-3), who was three years old in the
twelve images produced of him. (PSR, par. 14)

       The image of Rood’s then-seven-year-old relative
was produced in 2005. In that image, V-1's pants are
pulled down to expose his penis. (PSR, par. 15)

    5
        In all, seventy videos and one hundred and fourteen
still images of child pornography, including prepubescent
children and depictions of sadistic or masochistic abuse
or other depictions of violence were located on the items
seized from Rood’s residence. (PSR, par. 21)

                            5
Case 11-2174, Document 34, 01/04/2012, 488628, Page13 of 42




                     The four images of the then-two-year-old
               neighbor’s child were produced on January 9, 2008. In
               two of those images, V-2 is sitting on Rood’s lap with his
               pants down to expose his penis and buttocks. In the
               remaining two images, V-2 is standing with his pants
               down to expose his penis and buttocks. (PSR, par. 16)

                      The twelve images of Rood’s then-three-year-old
               relative were produced on March 23, 2008. In those
               images, V-3's erect penis is depicted while V-3 is sitting
               on Rood’s lap. In some of the images, Rood is pulling V-
               3's clothing aside to expose V-3's penis, and Rood is
               either grabbing or touching V-3's penis. (PSR, par. 17)

                      In September 2009, V-3's mother advised the
               Oneida County Child Advocacy Center that V-3
               complained after spending a night at Rood’s residence
               that “Poppy” had touched his “pee-pee” and that it hurt.
               V-3 also stated at that time that Poppy had touched his
               penis and his “butt,” that it hurt, and that Poppy used his
               hand. (PSR, par. 18)

                      V-3's sixteen-year old cousin, who also was related
               to Rood, stated that Rood routinely forced her to have
               intercourse with him from the time she was eleven years
               old to the time she was fifteen years old. She also stated
               that she observed Rood giving V-3 a “hand job” during




                                           6
             Case 11-2174, Document 34, 01/04/2012, 488628, Page14 of 42




which V-3 “was crying and screaming her name.” (PSR,
par. 19)6

2. Rood’s Motion To Strike Allegation
   Of Prior Sex Conviction

       Rood moved in the district court to strike from the
indictment the allegation that he had previously been
convicted of a sex offense, and to dismiss the
government’s special information. (Docket No. 23; A 32-
43) According to Rood, his 1991 Ohio State conviction
for Gross Sexual Imposition did not meet the definition of
a prior sex conviction under 18 U.S.C. § 3559(e).

      Rood maintained that the inquiry to determine
whether his 1991 conviction qualified as a prior sex
conviction was limited to the so-called “categorical
approach.” That approach was utilized by the Supreme
Court in Taylor v. United States, 495 U.S. 575 (1990), as
a means to determine whether a defendant’s prior
conviction constituted a crime of violence within the
meaning of the Armed Career Criminal Act of 1984
(“ACCA”), 18 U.S.C. § 924(e). According to Rood, this
approach limits the inquiry to an examination of the
elements of the prior offense to determine whether it is a
qualifying conviction.


    6
      The PSR does not indicate when V-3's cousin made
these allegations, although they also appear to have been
made in September 2009. (A 112)

                            7
Case 11-2174, Document 34, 01/04/2012, 488628, Page15 of 42




                      Rood maintained that the elements of his Ohio
               conviction for Gross Sexual Imposition were not
               “congruent” or “equivalent” to any of the federal offenses
               specified in § 3559(e) that would qualify his 1991
               conviction as a prior sex conviction within the meaning
               of that statute. According to Rood, the Ohio statute under
               which he was convicted did not include a mens rea
               requirement, such that a person could be convicted under
               the Ohio statute if the “act of touching another [was] done
               by accident, ignorance, or mistake.” (A 40)

                      By contrast, Rood assumed that 18 U.S.C. §
               2241(c) was the only federal statute to which the elements
               of the Ohio statute under which he was convicted had to
               be compared, and that § 2241(c) required an intentional
               touching, and that the defendant acted knowingly. (A 40-
               41)7

                     Next, Rood argued that his Ohio statute of
               conviction was over-inclusive because it penalized sexual
               contact with persons under the age of thirteen, and that §
               2241(c) only penalized a sexual act with minors under the
               age of twelve. (A 42) For all of these reasons, Rood
               concluded that the elements of his Ohio statute of

                   7
                     Notwithstanding this contention, Rood assumed for
               purposes of argument, but did not concede, that “touching
               for the purpose of arousal under [the Ohio statute],
               Section 2907.05, is the same as touching with an intent to
               arouse under Section 2241(c) and 2246(2)(D) . . . .” (A
               41-42)

                                           8
             Case 11-2174, Document 34, 01/04/2012, 488628, Page16 of 42




conviction differed from the elements of § 2241(c), and
that his Ohio conviction, therefore, did not qualify as a
prior sex conviction within the meaning of § 3559(e).

3. Government’s Opposition to Rood’s Motion

      In opposition to Rood’s motion to strike the prior
sex conviction allegation, the government noted that the
only question raised by Rood was whether his 1991
conviction meets the definition of a “State sex offense”
within the meaning of § 3559(e). (A 55) The government
noted that in relevant measure, a state sex offense is
defined as one that “consists of conduct that would be a
Federal sex offense if, [there had been a basis for
exercising federal jurisdiction over the offense].” (A 56)

       Although noting that there might be other federal
statutes that Rood’s 1991 conduct would have violated (A
56, n. 6), the government addressed Rood’s contention
that his 1991 conviction was not sufficiently analogous to
§ 2241 to constitute a prior sex conviction within the
meaning of § 3559(e). (A 56) In so doing, the
government utilized the modified categorical approach, as
provided for in United States v. Walker, 595 F.3d 441 (2d
Cir. 2010). (A 57-58)

      Relying on court documents involved in Rood’s
1991 prosecution (A 25-31, 67), and on an affidavit from
an investigator in the Ohio prosecutor’s office that
prosecuted Rood in 1991 (A 65-66) to explain those


                            9
Case 11-2174, Document 34, 01/04/2012, 488628, Page17 of 42




               documents, the government argued that Rood’s
               conviction clearly fell within the reach of § 2241.

                      In response to Rood’s contention that there was no
               mens rea requirement in the Ohio statute he was
               convicted of violating in 1991, the government noted that
               the Ohio statutes defined sexual contact as touching an
               erogenous zone of another “for the purpose of sexually
               arousing or gratifying either person.” Likewise, the
               government noted that the Ohio code specified that when
               a person acts “purposely,” he acts with “specific
               intention” to achieve a particular result. (A 55) The
               government claimed that Rood’s contention that one
               could violate the Ohio statute by accident, mistake, or
               ignorance was implausible, and that when one acts with
               intent, he acts knowingly. (A 59) The government set
               forth decisions from the Ohio courts that supported its
               interpretation of the relevant statute. (A 60-62)

                      In response to Rood’s contention that the Ohio
               statute criminalized engaging in a sexual act with a minor
               under the age of thirteen, and the federal statute
               criminalized engaging in sexual act with a minor under
               the age of twelve, the government relied on the relevant
               court documents to establish that Rood’s 1991 conviction
               necessarily involved a two-year-old victim. (A 62-63)8

                   8
                      Rood filed a reply to the government’s opposition
               to his motion. In that reply, Rood reiterated his
               arguments, and objected to the use of the documents
               relied upon by the government in applying the modified

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              Case 11-2174, Document 34, 01/04/2012, 488628, Page18 of 42




4. Sentencing Proceedings

      (i) Probation Office Guidelines Calculation
      and Determination of Statutory Penalties

       Following the entry of Rood’s conditional plea, the
probation office, in accordance with the provisions of
U.S.S.G. § 3D1.2, determined that counts one to three,
charging Rood with producing child pornography, should
not be grouped, since they involved separate victims. By
contrast, in accordance with U.S.S.G. § 3D1.2(d), the
probation office determined that counts four through six,
charging Rood with receipt and possession of child
pornography should be grouped. (PSR, par. 29)

      Accordingly, the probation office found that the
adjusted offense level for counts one and two, relating to
V-1 and V-2, respectively, was thirty-eight (PSR, pars.
36, 43); the adjusted offense level for count three, relating
to V-3, was determined to be forty. (PSR, par. 51) The
adjusted offense level for the group relating to Rood’s
receipt and possession of child pornography was
determined to be forty-five. (PSR, par. 62)

      Rood’s combined adjusted offense level was found
to be forty-eight. (PSR, par. 70) Three levels were
subtracted for Rood’s early acceptance of responsibility
(PSR, pars. 71, 72), for a total offense level of forty-five.
(PSR, par. 73)


categorical approach. (A 68-75)

                             11
Case 11-2174, Document 34, 01/04/2012, 488628, Page19 of 42




                      Although Rood was determined by the probation
               office to be a Repeat and Dangerous Sex Offender
               Against Minors within the meaning of U.S.S.G. § 4B1.5,
               his Guidelines offense level nonetheless remained forty-
               five. (PSR, par. 74) In accordance with U.S.S.G. Chapt.
               5, Pt. A, comment n.1, which limits a defendant’s
               Guidelines offense level to forty-three, Rood’s offense
               level became forty-three. (PSR, par. 76)

                      The probation office found that Rood’s criminal
               history category would have been a II, but U.S.S.G. §
               4B1.5(a)(2) resulted in a criminal history category of V
               because Rood is a repeat and dangerous sex offender.
               (PSR, par. 90) With a total offense level of forty-three,
               and a criminal history category of V, Rood’s Guidelines
               imprisonment range was life. (PSR, par. 113)

                      The probation office determined that 18 U.S.C. §
               3559(e) required the imposition of a mandatory life term
               of imprisonment on each of counts one to three. It
               likewise determined that each of counts four and five
               required a statutory minimum term of imprisonment of
               fifteen years and a maximum term of imprisonment of
               forty years; and that the statutory maximum term of
               imprisonment for count six was ten years. (PSR, par.
               112)

                     (ii) Sentencing

                      In his sentencing memorandum, Rood relied upon
               his earlier motion in support of his argument that his 1991

                                           12
             Case 11-2174, Document 34, 01/04/2012, 488628, Page20 of 42




conviction for Gross Sexual Imposition did not qualify as
a prior sex conviction under § 3559(e). (A 111) At the
time of sentencing, counsel for Rood reiterated Rood’s
claim that there was not a mens rea requirement in the
Ohio statute of conviction, and that the documents relied
upon by the government in support of its modified
categorical approach were not properly relied upon. (A
146-149)

       After hearing from government counsel, the court
rejected Rood’s contention that the Ohio statute penalizes
“accidental touching of a minor.” As a result, the court
found the Ohio statute to be “the same as the Federal
Statute 2251 [sic]9.” (A 151)

       Similarly, although not discussing the age of
Rood’s victim in 1991, the court said that conviction “is
a prior conviction with a minor, which a minor is a victim
under Section 3559(e)(2)(C).”10 (A 152) As a result, the
court found that the mandatory life term of imprisonment
provisions of 18 U.S.C. § 3559(e) were applicable to

    9
     The district court presumably was referring here to
§ 2241.
    10
       The court’s reference to § 3559(e)(2(C), appears
to have been made in error, since that subdivision
addresses only the timing of a prior conviction. The
reference presumably should have been to §
3559(e)(2)(D), which defines “minor” as a person under
seventeen years of age.

                           13
Case 11-2174, Document 34, 01/04/2012, 488628, Page21 of 42




               Rood’s convictions on the first three counts of the
               indictment. (A 152)11

                        Before imposing sentence, the court stated:

                               Mr. Rood, you pled guilty to six
                        offenses, two involving your [relatives], one
                        involving a neighbor’s, ages two, three and
                        seven.     You pled guilty to having
                        voluminous amounts of child pornography
                        in your possession.

                               Ordinarily, I would be very - - feel
                        very bad about giving anyone a life
                        sentence. In your case, it is not that
                        difficult. We must protect children, and you
                        are obviously a severe menace to society, the
                        way you have treated your own relatives.

               (A 155) The court then imposed life terms of
               imprisonment on counts one through three; fifteen-year
               terms of imprisonment on counts four and five; and a ten-
               year term of imprisonment on count six, all to run
               concurrently. (A 155)



                   11
                        The court also stated, at that time, “[f]or the
               record, pursuant to U.S.S.G. 5, a base offense level of
               forty-three, with a criminal history category five, the
               guideline range is life imprisonment.” (A 152)

                                             14
              Case 11-2174, Document 34, 01/04/2012, 488628, Page22 of 42




             SUMMARY OF ARGUMENT

       The district court was correct to use the modified
categorical approach to determine whether Rood’s 1991
conviction under Ohio state law for Gross Sexual
Imposition qualifies as a prior sex conviction within the
meaning of 18 U.S.C. § 3559(e). Court records pertinent
to that conviction, as explained by an investigator in the
Ohio prosecutor’s office that prosecuted Rood in 1991,
establish that Rood’s conviction was based upon Rood
rubbing the penis of a two-year old child while he had his
own penis in his hand. Had a federal basis for jurisdiction
been present, Rood’s conduct would have violated 18
U.S.C. § 2241(c) and 18 U.S.C. § 2242(2)(A).

                      ARGUMENT

      The District Court Did Not Err In
      Utilizing A Modified Categorical
      Approach To Determine Whether
      Rood's 1991 Conviction Under Ohio
      Law For Gross Sexual Imposition
      Qualified As A Prior Sex Conviction
      Under 18 U.S.C. § 3559(e), And Did
      Not Clearly Err In Determining That
      The Facts Underlying Rood's 1991
      Conviction Did So Qualify.

A. Standard of Review

      “The questions of what documents a district court
may rely on to determine the nature of a prior conviction

                            15
Case 11-2174, Document 34, 01/04/2012, 488628, Page23 of 42




               and of the scope of a district court’s authority to make
               factual findings are questions of law . . . which [this
               Court] reviews de novo.” United States v. Rosa, 507 F.3d
               142, 151 (2d Cir. 2007) (citing Shepard v. United States,
               544 U.S. 13, 16 (2005)). The Court applies “clear error
               review to a district court’s factual findings regarding the
               nature of a prior offense.” United States v. Brown, 629
               F.3d 290, 293 (2d Cir. 2011).

                      “To the extent a defendant appeals his sentence on
               grounds not raised in the District Court, [this Court]
               review[s] for plain error.” United States v. Bonilla, 618
               F.3d 102, 111 (2d Cir. 2010), cert. denied, __U.S.__, 131
               S. Ct. 1698 (2011). This Court may, in its discretion,
               correct such an error only when the defendant has shown
               that

                     (1) there is an “error”; (2) the error is “clear
                     or obvious, rather than subject to reasonable
                     dispute”; (3) the error “affected [his]
                     substantial rights, which in the ordinary case
                     means” it “affected the outcome of the
                     district court proceedings”; and (4) “the
                     error seriously affect[s] the fairness,
                     integrity or public reputation of judicial
                     proceedings.”

               United States v. Marcus, __ U.S. __, 130 S. Ct. 2159,
               2164 (2010) (quoting Puckett v. United States, 556 U.S.
               129, __, 129 S. Ct. 1423, 1429 (2009)).


                                           16
              Case 11-2174, Document 34, 01/04/2012, 488628, Page24 of 42




B. Governing Law

       In Taylor, the Court considered what definition of
burglary should be applied for purposes of the sentencing
enhancement in 18 U.S.C. § 924(e), the Armed Career
Criminal Act of 1984, and how courts should determine
whether a defendant’s prior conviction met that
definition. First, the Court determined that the definition
of a generic burglary should apply. Id. at 598. Second,
the Court instructed that courts should look to the
statutory definition of the predicate offense to determine
whether that offense met the generic definition of
burglary. Id. at 600-602. The Court referred to this
approach as a “categorical approach.” Id. Nonetheless,
the Court recognized that the

      categorical approach, however, may permit
      the sentencing court to go beyond the mere
      fact of conviction in a narrow range of cases
      where a jury was actually required to find all
      the elements of generic burglary. For
      example, in a State whose burglary statutes
      include entry of an automobile as well as a
      building, if the indictment or information
      and jury instructions show that the defendant
      was charged only with a burglary of a
      building, and that the jury necessarily had to
      find an entry of a building to convict, then
      the Government should be allowed to use
      the conviction for enhancement.

                            17
Case 11-2174, Document 34, 01/04/2012, 488628, Page25 of 42




               Id. at 602.

                       In Shepard, the Court made clear that the procedure
               outlined in Taylor applied with equal force to determining
               whether prior convictions obtained by plea, rather than by
               trial, amount to qualifying, predicate, generic burglary
               convictions. Shepard, 544 U.S. at 19. The Court rejected
               the government’s contention that police records could be
               examined to make this determination. Rather, the Court
               held that

                      enquiry under the ACCA to determine
                      whether a plea of guilty to burglary defined
                      by a nongeneric statute necessarily admitted
                      elements of the generic offense is limited to
                      the terms of the charging document, the
                      terms of a plea agreement or transcript of
                      colloquy between judge and defendant in
                      which the factual basis for the plea was
                      confirmed by the defendant, or to some
                      comparable judicial record of this
                      information.

               Id. at 26.

                      This Court has described the process of examining
               judicial records in addition to the elements of a predicate
               offense as the “modified categorical approach.” See
               United States v. Walker, 595 F.3d 441, 443 (2d Cir.
               2010). And, the Court has employed this analysis in
               contexts other than the Armed Career Criminal Act. Id.

                                           18
              Case 11-2174, Document 34, 01/04/2012, 488628, Page26 of 42




(applying modified categorical approach to determine
whether prior conviction was a crime of violence within
meaning of U.S.S.G. § 4B1.2(a)).

        Some predicate offenses are defined not only by
their elements, but by circumstance-specific facts. See,
e.g., Nijhawan v. Holder, 557 U.S. 29, 129 S. Ct. 2294
(2009). There, the Court examined the definition of
“aggravated felony” in 8 U.S.C. § 1101(a)(43)(M)(i), that
includes “an offense that . . . involves fraud or deceit in
which the loss to the victim or victims exceeds $10,000)
(emphasis in original). Id. at __, 129 S. Ct. 2294, 2297.
As the Court explained, “[w]e conclude . . . that the
italicized language does not refer to an element of the
fraud or deceit crime. Rather it refers to the particular
circumstances in which an offender committed a (more
broadly defined) fraud or deceit crime on a particular
occasion.” Id. at __, 129 S. Ct. at 2298.

       The penalty enhancement provision in 18 U.S.C. §
3559(e) requires that the age of the minor victim in a prior
sex conviction be less than seventeen years. 18 U.S.C. §
3559(e)(2)(D). This is a circumstance-specific fact, not
a required element of the predicate offense. United States
v Doss, 630 F.3d 1181 (9th Cir. 2011).

C. Relevant Statutes

      Title 18, United States Code, Section 3559,
provides in relevant part:


                            19
Case 11-2174, Document 34, 01/04/2012, 488628, Page27 of 42




                     (e) Mandatory life imprisonment for
                     repeated sex offenses against children.--

                     (1) In general.--A person who is convicted
                     of a Federal sex offense in which a minor is
                     the victim shall be sentenced to life
                     imprisonment if the person has a prior sex
                     conviction in which a minor was the victim,
                     unless the sentence of death is imposed.

                     (2) Definitions.--For the purposes of this
                     subsection--

                     (A) the term “Federal sex offense” means an
                     offense under . . . 2241 (relating to
                     aggravated sexual abuse), 2242 (relating to
                     sexual abuse), . . . 2251 (relating to sexual
                     exploitation of children) . . .;

                     (B) the term “State sex offense” means an
                     offense under State law that is punishable by
                     more than one year in prison and consists of
                     conduct that would be a Federal sex offense
                     if, to the extent or in the manner specified in
                     the applicable provision of this title--

                     (i) the offense involved interstate or foreign
                     commerce, or the use of the mails; or

                     (ii) the conduct occurred in any
                     commonwealth, territory, or possession of

                                           20
             Case 11-2174, Document 34, 01/04/2012, 488628, Page28 of 42




      the United States, within the special
      maritime and territorial jurisdiction of the
      United States, in a Federal prison, on any
      land or building owned by, leased to, or
      otherwise used by or under the control of the
      Government of the United States, or in the
      Indian country (as defined in section 1151);

      (C) the term “prior sex conviction” means a
      conviction for which the sentence was
      imposed before the conduct occurred
      constituting the subsequent Federal sex
      offense, and which was for a Federal sex
      offense or a State sex offense;

      (D) the term “minor” means an individual
      who has not attained the age of 17 years; and

      (E) the term “state” [means a State of the
      United States].

18 U.S.C. § 3559(e).

      Title 18, United States Code, Section 2241
provides, in relevant part:

      (c) With children.--Whoever crosses a State
      line with intent to engage in a sexual act
      with a person who has not attained the age
      of 12 years, or in the special maritime and
      territorial jurisdiction of the United States or

                            21
Case 11-2174, Document 34, 01/04/2012, 488628, Page29 of 42




                     in a Federal prison, or in any prison,
                     institution, or facility in which persons are
                     held in custody by direction of or pursuant
                     to a contract or agreement with the head of
                     any Federal department or agency,
                     knowingly engages in a sexual act with
                     another person who has not attained the age
                     of 12 years . . . or attempts to do so, shall be
                     fined under this title and imprisoned for not
                     less than 30 years or for life. . . .

               18 U.S.C. § 2241(c).

                     Title 18, United States Code, Section 2242,
               provides, in relevant part:

                     Whoever, in the special maritime and
                     territorial jurisdiction of the United States or
                     in a Federal prison, or in any prison,
                     institution, or facility in which persons are
                     held in custody by direction of or pursuant
                     to a contract or agreement with the head of
                     any Federal department or agency,
                     knowingly–

                                         ***

                     (2) engages in a sexual act with another
                     person if that other person is–




                                           22
             Case 11-2174, Document 34, 01/04/2012, 488628, Page30 of 42




      (A) incapable of appraising the nature of the
      conduct;

                          ***

      or attempts to do so, shall be fined under this
      title and imprisoned for any term of years or
      for life.

18 U.S.C. § 2242(2)(A).

      Title 18, United States Code, Section 2246,
provides, in relevant part:

      As used in this chapter--

                          ***

      (2) the term “sexual act” means–

                          ***

      (D) the intentional touching, not through the
      clothing, of the genitalia of another person
      who has not attained the age of 16 years
      with an intent to . . . arouse or gratify the
      sexual desire of any person . . . .

18 U.S.C. § 2246(2)(D).




                            23
Case 11-2174, Document 34, 01/04/2012, 488628, Page31 of 42




                     Ohio Rev. Code, Section 2907.05, provided in
               relevant part:

                       (A) No person shall have sexual contact with
                       another, not the spouse of the offender. . .
                       when any of the following applies:

                                            ***

                       (4) The other person . . . is less than thirteen
                       years of age, whether or not the offender
                       knows the age of that person.

                                            ***

                       (C) Whoever violates this section is guilty of
                       gross sexual imposition. . . . [V]iolation of
                       division (A)(4) of this section is a felony of
                       the third degree.

               Ohio Rev. Code, § 2907.05.

                       Ohio Rev. Code §2907.01, provided, in relevant
               part:

                       (B) “Sexual contact” means any touching of
                       an erogenous zone of another, including
                       without limitation the thigh, genitals,
                       buttock, pubic region, or, if the person is a
                       female, a breast, for the purpose of sexually
                       arousing or gratifying either person.

                                             24
              Case 11-2174, Document 34, 01/04/2012, 488628, Page32 of 42




Ohio Rev. Code § 2907.01(B).

      Ohio Rev. Code, § 2901 provided in relevant part:

      A person acts purposely when it is his
      specific intention to cause a certain result,
      or, when the gist of the offense is a
      prohibition against conduct of a certain
      nature, regardless of what the offender
      intends to accomplish thereby, it is his
      specific intention to engage in conduct of
      that nature.

Ohio Rev. Code § 2901.22(A).

D. Discussion

        Contrary to Rood’s claim that the “modified
categorical approach” should not be utilized to determine
whether his 1991 conviction for Gross Sexual Deviation
is a prior sex conviction within the meaning of § 3559(e),
as set forth above, even the Supreme Court, in describing
the “categorical approach,” noted it would sometimes be
necessary to examine court documents to determine
whether a prior conviction qualifies as a predicate
offense. Taylor, 495 U.S. at 602. The district court did
not err, therefore, in utilizing this approach below.

       Before the district court, Rood raised two grounds
in support of his claim that his 1991 conviction was not
a prior sex offense. First, he argued that unlike § 2242(c),

                            25
Case 11-2174, Document 34, 01/04/2012, 488628, Page33 of 42




               which requires a knowing and intentional act, the Ohio
               statute under which he was convicted in 1991 contained
               no mens rea requirement. (A 40-42) Second, Rood
               argued that his 1991 conviction did not qualify as a prior
               sex conviction because the statute under which he was
               convicted made it unlawful to have sexual contact with a
               person under thirteen years of age, and the only federal
               statute that Rood believed the Ohio statute should be
               compared to, § 2241(c), makes it unlawful to have sexual
               contact with a person under the age of twelve. (A 42)
               Rood is incorrect in both contentions.

                        Rood was convicted in Ohio of having sexual
               contact with a person under thirteen years of age. Sexual
               contact is defined, in part, as any touching of an
               erogenous zone of another for the purpose of sexually
               arousing or gratifying either person. Ohio Rev. Code §
               2907.01(B). Under Ohio law, a person acts purposely,
               “when it is his specific intention to cause a certain result
               . . . .” Ohio Rev. Code § 2901.22(A) (emphasis added).
               One cannot, therefore, as Rood maintains, be convicted
               of the crime of Gross Sexual Imposition through an
               accidental, ignorant, or mistaken touching of a minor.

                      The Ohio courts agree. In State v. Dunlap, 129
               Ohio St. 3d 461, 953 N.E.2d 816 (2011), the Supreme
               Court of Ohio rejected Dunlap’s argument that the mens
               rea for violating § 2907.05(A)(4) was recklessness. The
               court explained:




                                           26
       Case 11-2174, Document 34, 01/04/2012, 488628, Page34 of 42




       We agree with the state that the mens
rea of purpose applies to [the definition of
sexual contact in] R.C. 2907.01(B), and thus
to the sexual-contact element of [the offense
of gross sexual imposition in] R.C.
2907.05(A)(4). R.C. 2901.22(A) defines the
mens rea of purpose:

“A person acts purposely when it is his
specific intention to cause a certain result,
or, when the gist of the offense is a
prohibition against conduct of a certain
nature, regardless of what the offender
intends to accomplish thereby, it is his
specific intention to engage in conduct of
that nature.”

Through the definition of sexual contact in
R.C. 2907.01(B), gross sexual imposition as
described in R.C. 2907.05(A)(4) requires
proof of touching “for the purpose of
sexually arousing or gratifying either
person.” (Emphasis added.) The statute
requires a specific intent behind the
touching—the touching must be intended to
achieve sexual arousal or gratification. Since
there is a specific intent motivating the
touching, it follows that the act of touching
must be intentional.




                     27
Case 11-2174, Document 34, 01/04/2012, 488628, Page35 of 42




               Dunlap, 129 Ohio St. 3d at 465, 953 N.E.2d at 819
               (emphasis added); cf. Oouch v. United States Dept. of
               Homeland Security, 633 F.3d 119, 125 (2d Cir. 2011)
               (“Offenses that require no mens rea are disfavored, and
               some indicium of legislative intent for strict liability is
               generally required before dispensing with mens rea as an
               element”) (citations omitted).12

                     To the extent Rood argues that one cannot be
               convicted of gross sexual imposition, in violation of §
               2907.05, unless the victim is less than thirteen years old,
               whereas § 2241(c) makes it unlawful to have sexual
               contact with a victim who is less than twelve years old,
               Rood mistakenly assumes that the age of the victim is a
               necessary element of the predicate offense.


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                        In light of the clear indication from the Ohio
               Supreme Court that there is a mens rea requirement for
               conviction of gross sexual imposition, there is no need to
               consider the far-fetched hypothetical scenarios posited by
               Rood as bases for conviction under § 2907.05. See Brief
               at 22-23. In any event, the district court was correct to
               discount these hypotheticals. Cf. United States v.
               Johnson, 616 F.3d 85, 87-88 (2d Cir. 2010), cert. denied,
               sub nom. Derby v. United States, __U.S.__, 131 S. Ct.
               2858 (2011) (In determining whether a prior conviction
               is a “violent felony” under the ACCA, the court need not
               conclude that every conceivable factual scenario must
               qualify; rather, the court looks at the ordinary case)
               (citing James v. United States, 550 U.S. 192 (2007).

                                           28
               Case 11-2174, Document 34, 01/04/2012, 488628, Page36 of 42




       Section 3559(e) provides that a defendant “who is
convicted of a Federal sex offense in which a minor is the
victim shall be sentenced to life imprisonment if the
person has a prior sex conviction in which a minor was
the victim . . . . 18 U.S.C. § 3559(e)(1) (emphasis added).
A minor is later defined as “an individual who has not
attained the age of 17 years.” 18 U.S.C. § 3559(e)(2)(D).

      As explained in Doss, 630 F.3d 1181, “the clause
‘in which a minor was the victim’ modifies ‘prior sex
conviction’ but is not necessarily an element of that prior
offense.” Id. at 1196 (emphasis in original). As such,
the Doss court concluded

      The first portion of the sentencing
      enhancement – whether defendant has a
      prior “sex offense” conviction – involves the
      traditional Taylor approach and a
      comparison of generic elements. However,
      in light of Nijhawan, we conclude that
      Congress intended courts applying § 3559(e)
      to then look to the specific circumstances of
      that conviction to determine whether it
      involved a minor (and whether the
      defendant’s defenses [set forth elsewhere in
      the statute] might also apply given the
      particular circumstances of the prior
      conviction).

Id. at 1197.


                            29
Case 11-2174, Document 34, 01/04/2012, 488628, Page37 of 42




                      The conclusion in Doss also makes sense, since, if
               Congress intended for the age of the minor victim to be
               determined by examination of the elements of the
               predicate offense, there would have been no need to set
               forth the definition of a minor in the statute. See 18
               U.S.C. § 3559(e)(2)(D). Here, therefore, the fact that
               Rood’s prior sex conviction included as an element that
               the victim be less than 13 years of age, does not preclude
               a finding that such conviction requires the imposition of
               an enhanced penalty.13

                      Rood also objects to the district court’s reliance on
               the Municipal Court Statement (A 67) to establish the age
               of his victim. Because a minor is defined by § 3559(e) to
               be a person less than seventeen years of age, Rood’s
               objection is beside the point. The Bill of Information (A
               25), which Rood has not objected to, makes clear that his
               minor victim was “less than thirteen years of age . . . .”
               As such, Rood’s 1991 conviction for Gross Sexual
               Imposition satisfies the requirements of § 3559(e),
               defining a minor as less than seventeen years old, and the
               district court did not err in imposing life terms of
               imprisonment on each of counts one to three of the
               indictment.


                   13
                      Judicial fact-finding, beyond the fact of conviction
               raises concerns under Apprendi v. New Jersey, 530 U.S.
               466, 490 (2000). See Doss, 630 F.3d at 1197. Here,
               however, Rood did not contest the facts set forth in the
               PSR, thereby alleviating these concerns.

                                           30
              Case 11-2174, Document 34, 01/04/2012, 488628, Page38 of 42




       For the first time on appeal, Rood claims that his
1991 conviction does not meet the criteria of § 3359(e)
because “sexual contact” within the meaning of the Ohio
statute under which he was convicted includes touching
of several identified erogenous zones, including genitalia,
without specifying whether such touching can be through
clothing, whereas, under § 2241, a “sexual act” requires
touching of only genitalia not through clothing. Brief at
16-18. Because this claim is raised for the first time on
appeal, it is reviewed for plain error only.

      Here, if there was error, it was not plain. The
Municipal Court Statement (A 67) established that Rood
“had taken down the pants and under ware [sic] of [his
victim] (2 yrs. old), he then rubbed [his victim’s] penis
while he had his own penis in his hand.” (A 67)

       As explained in the affidavit of Stan N. Erter, an
investigator with the Clark County, Ohio Prosecutor’s
Office, the Municipal Court Statement “is a document
filed with the court as part of the prosecution of a
defendant, and forms the factual basis for the criminal
prosecution of the defendant, and any ensuing
conviction.” (A 65) Investigator Erter explained that the
Municipal Court Statement “formed the factual basis for
the Bill of Information and resulting guilty plea by FLAY
ROOD in his 1991 Clark County case.” (A 65) As such,
this court document establishes that, in fact, Rood
touched the genitalia of his minor victim, and such




                            31
Case 11-2174, Document 34, 01/04/2012, 488628, Page39 of 42




               touching was not through the victim’s clothing, as
               required under § 2241.14

                      These facts not only were established through the
               use of the Municipal Court Statement. These facts were
               included in the PSR (par. 7) below, and Rood did not
               object to those facts. Indeed, the district court set forth
               the factual basis for Rood’s 1991 conviction on the record
               in great detail, and Rood did not contest the court’s
               characterization in any way. (A 145-146) It cannot be
               said that it was plain error to establish the circumstances
               underlying Rood’s 1991 conviction in this way. See
               United States v. Daranda, 405 Fed. Appx. 834, 839 (5th
               Cir. 2010), cert. denied, __U.S.__, 131 S. Ct. 2166 (2011)
               (summary order) (finding no plain error warranting the
               court’s notice of the district court’s reliance upon
               undisputed facts in PSR to establish circumstances of
               predicate offense for purposes of imposing enhanced
               penalties under § 3559(e)).

                     Rood is also incorrect in limiting the comparison of
               his 1991 conviction to the provisions of 18 U.S.C. §
               2241(c). It is evident that Rood’s 1991 conviction also


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                      Rood also claims that his 1991 conviction should
               be examined to determine whether it is congruent with 18
               U.S.C. § 2244(a)(5). However, § 2244(a)(5) is not listed
               in § 3559(e), and the government makes no claim that a
               predicate offense that is congruent with § 2244(a)(5)
               would trigger § 3559(e)’s enhanced penalties.

                                           32
              Case 11-2174, Document 34, 01/04/2012, 488628, Page40 of 42




qualifies as a prior sex conviction when compared with
the provisions of 18 U.S.C. § 2242(2)(A).

        As discussed above, § 2242(2)(A) makes it
unlawful to engage in a sexual act with a person who is
“incapable of appraising the nature of the conduct.” Here,
Rood’s touching of his victim’s genitalia in 1991
constituted a sexual act. See § 2246(2)(D). It would
seem beyond question that Rood’s two-year-old victim
would not be capable of appraising the nature of that
conduct. For these reasons, as well, Rood’s 1991
conviction qualifies as a prior sex conviction in which the
victim is a minor, and Rood properly was sentenced to
life terms of imprisonment on counts one to three.




                            33
Case 11-2174, Document 34, 01/04/2012, 488628, Page41 of 42




                                  CONCLUSION

                     The judgment of the district court should be
               affirmed in all respects.

               Dated: Albany, New York
                      January 4, 2012

                                 Respectfully submitted,

                                 RICHARD S. HARTUNIAN
                                 United States Attorney for the
                                     Northern District of New York
                                 Attorney for Appellee

                           By:   /s/ Paul D. Silver
                                 PAUL D. SILVER
                                 Assistant United States Attorney

               LISA M. FLETCHER
               Assistant United States Attorney
                     Of Counsel




                                         34
             Case 11-2174, Document 34, 01/04/2012, 488628, Page42 of 42




          CERTIFICATE OF COMPLIANCE

       Pursuant to Rule 32(a)(7)(C) of the Federal Rules
of Appellate Procedure, the undersigned counsel for
Respondents hereby certifies that this brief complies with
the type-volume limitation of Rule 32(a)(7)(B). As
measured by the word processing system used to prepare
this brief, there are 6,669 words in this brief.

                   Richard S. Hartunian
                   United States Attorney for the
                   Northern District of New York

             By:   /s/ Paul D. Silver

                   Paul D. Silver
                   Assistant United States Attorney
